    Case 19-00149-SMT                 Doc 12 Filed 03/15/19 Entered 03/16/19 00:11:42                                        Desc Imaged
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NTCRDO7 (12/15)




In Re: Thomas K. Stephenson                                                                                     Case No.: 19−00149−SMT
                                                                                                                              Chapter: 11
                                       United States Bankruptcy Court for the
                                                District of Columbia
                                       E. Barrett Prettyman U. S. Courthouse
                                         333 Constitution Ave, NW #1225
                                              Washington, DC 20001
                                                   (202) 354−3280
                                               www.dcb.uscourts.gov
                                  ORDER TO FILE REQUIRED DOCUMENTS
                         ======================================================

   The following documents required by the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure have
not yet been filed:

      Schedules A/B−J (Official Form 106 for               Statement of Your Financial Affairs (Official Form 107 for
      individuals or 206 for non−individuals)1             individuals or 207 for non−individuals)
      Copies of All Payment Advices or Other               Chapter 7 Statement of Your Current Monthly Income
      Evidences of Payment/Statement That No               (Form 122A−1 for Ch−7 or 122B for Ch−11)
      Evidence of Payment Exists2
      Statement of Intention For Individuals (Official
      Form 108)(if the debtor's schedules reflect
      debts secured by property of the estate)
    With the exception of the Statement of Intention For Individuals (Official Form 108),3 the missing documents
indicated above must be filed by 3/26/2019 to comply with the Federal Rules of Bankruptcy Procedure. Failure to
file the missing documents within fourteen (14) days of the petition date may result in dismissal of this case. It
is

   ORDERED that, unless the debtor obtains an extension of time, the debtor must file the foregoing documents by
3/26/2019.4

Copies to: Debtor(s); Attorney for the Debtor(s) (if any).
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1 All Official Forms are available at http://www.uscourts.gov/bkforms/bankruptcy_forms.html. If schedules D or E/F are filed after the
mailing matrix and list of creditors are filed, the debtor(s) must file either an amended mailing matrix and list of creditors or a certification
that no changes have been made to the mailing matrix. Finally, the debtor(s) must pay a $31.00 fee if the schedules require the filing of an
amended mailing matrix and list of creditors to add or delete a creditor.
2 A debtor who has received no payment advices or other evidence of payment from an employer within the sixty (60) days preceding the
filing of the petition may satisfy the requirements of § 521(a)(1)(B)(iv) by filing a statement to that effect on the court's docket.
3 A debtor with consumer debts secured by property of the estate must "file with the clerk a statement of his intention with respect to the
retention or surrender of such property and, if applicable, specifying that such property is claimed as exempt, that the debtor intends to
redeem such property, or that the debtor intends to reaffirm debts secured by such property . . . ." 11 U.S.C. § 521(a)(2)(A). The statement of
intention must be filed by the earlier of (1) thirty (30) days after the petition date, or (2) the meeting of creditors required by 11 U.S.C. §
341, although the court may set a different deadline for good cause. If a debtor fails to file a statement of intention in a timely manner, the
automatic stay provided by 11 U.S.C. § 362 will terminate "with respect to personal property of the estate or of the debtor securing in whole
or in part a claim, or subject to an unexpired lease, and such personal property shall no longer be property of the estate . . . ." 11 U.S.C. §
362(h).
4Pursuant to a motion requesting an extension for cause the court may grant an extension of time under F.R. Bankr. P. 9006. The court
generally looks with disfavor on motions to extend the deadline to file the required documents to a date after the meeting of creditors.
                                                                                                            For the Court:
                                                                                                            Angela D. Caesar
Dated: 3/13/19
                                                                                                            By:
                                                                                                            FB
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        Case 19-00149-SMT              Doc 12 Filed 03/15/19 Entered 03/16/19 00:11:42                               Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                   District of Columbia
In re:                                                                                                     Case No. 19-00149-SMT
Thomas K. Stephenson                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0090-1                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 13, 2019
                                      Form ID: ntcrdo7                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 15, 2019.
dbpos           Thomas K. Stephenson,   711 49th Street, NE,   Apt #1A,   Washington, DC 20019-4815

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 15, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 13, 2019 at the address(es) listed below:
              Charles M. Maynard   on behalf of Debtor In Possession Thomas K. Stephenson
               CMaynard@MaynardLawGroup.com
              Joseph A. Guzinski   on behalf of U.S. Trustee   U. S. Trustee for Region Four
               Joseph.A.Guzinski@usdoj.gov, USTPRegion04.DC.ECF@USDOJ.GOV;Bradley.D.Jones@usdoj.gov
              U. S. Trustee for Region Four   USTPRegion04.DC.ECF@USDOJ.GOV
                                                                                             TOTAL: 3
